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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

 SHATASHA COMBS,                                )
                                                )    Civil Action No.
      Plaintiff,                                )
                                                )
 v.                                             )
                                                )    JURY TRIAL DEMANDED
 EASY SITTING HEALTH CARE LLC,                  )
                                                )
   Defendant.                                   )
 _______________________________                )

                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Shatasha Combs (“Plaintiff”), by and through

undersigned counsel, and files this Complaint under Title VII of the Civil Rights Act

of 1964, as amended (“Title VII”) against Defendant Easy Sitting Health Care LLC

and shows the Court as follows:

                          JURISDICTION AND VENUE

                                           1.

        Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).

                                           2.

        The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.

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                                    PARTIES

                                         3.

      Plaintiff is a citizen of the United States of America, and is subject to the

jurisdiction of this Court.

                                         4.

      Defendant has been engaged in business in Georgia and in this District at all

times material hereto. Defendant is subject to jurisdiction in this Court over the

claims asserted herein.

                              FACTUAL ALLEGATIONS

                                         5.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (EEOC).

                                         6.

      Upon Plaintiff’s request, the EEOC issued a “Notice of Right to Sue” on

October 29, 2021, entitling an action to be commenced within ninety (90) days of

receipt of that notice.

                                         7.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue”.




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                                           8.

      Defendant is now, and at all times relevant hereto, has been an employer

subject to Title VII.

                                           9.

       Plaintiff began working for Defendant on June 10, 2021, as a CNA.

                                           10.

      On or around August 25, 2021, Defendant’s owner, Kimberly Davis, called

Plainitff to let her know that she had just found out that Plaintiff was pregnant.

                                           11.

      Ms. Davis told Plaintiff that she could not employ a pregnant person because

her insurance would not cover it.

                                           12.

      Plainitff informed Ms. Davis that her pregancy did not impact her ability to

do her job.

                                           13.

      Nonetheless, Ms. Davis terminated Plaintiff’s employment.

                                           14.

      Any reason given by Defendant for terminating Plaintiff’s employment is

pretext for unlawful discrimination based on Plaintiff’s gender (pregnancy).




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                                           15.

      In terminating Plaintiff because of her protected characteristic under Title VII,

Defendant violated Title VII and Plaintiff’s rights thereunder.

                                           16.

      As a result of Defendant’s unlawful actions, Plaintiff has suffered, inter alia,

pecuniary and non-pecuniary losses for which she is entitled to recover from

Defendant.

                              CLAIM FOR RELIEF

    VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

                                           17.

      Plaintiff repeats and re-alleges the preceding paragraphs as if set forth fully

herein.

                                           18.

     Title VII of the Civil Rights Act of 1964 prohibits employment discrimination

on the basis of sex.



                                           19.

      When it adopted the Pregnancy Discrimination Act, Congress amended Title

VII to provide that discrimination on the basis of sex includes discrimination “on the

basis of pregnancy, childbirth, or related medical conditions.”



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                                            20.

         At all times relevant, Plaintiff was a member of a protected class.

                                            21.

         Plaintiff was qualified to perform her position.

                                            22.

         Plaintiff’s was terminated because of her protected characteristic(s), to wit:

pregnancy.

                                            23.

            In terminating Plaintiff, Defendant discriminated against Plaintiff, in

violation of Title VII.

                                            24.

            As a result of Defendant’s unlawful actions, Plaintiff has suffered, among

other things, pecuniary and non-pecuniary losses for which she is entitled to recover

from Defendant. Among other things, Plaintiff has suffered lost wages and

emotional distress. Defendant’s unlawful actions were willful and done in reckless

disregard for Plaintiff’s protected rights. Plaintiff is entitled to an award of punitive

damages.

      WHEREFORE, Plaintiff requests judgment as follows:

      (a)            Special damages, back-pay, lost benefits and prejudgment

                     interest thereon;



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      (b)            Compensatory damages;

      (c)            Punitive damages;

      (d)            All equitable relief available, such as reinstatement or front-pay

                     in lieu thereof,

      (e)            All relief available under Title VII;

      (f)            Reasonable attorney’s fees and expenses of litigation;

      (g)            Trial by jury as to all issues so triable;

      (h)            Declaratory relief to the effect that Defendant has violated

                     Plaintiff's statutory rights;

      (i)            All other relief to which she may be entitled.

      This 12th day of November, 2021.

                                                 BARRETT & FARAHANY

                                                 s/ V. Severin Roberts
                                                 V. Severin Roberts
                                                 Georgia Bar No. 940504


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